                              EXHIBIT 1



                                 TO



                    VERIFIED COMPLAINT IN REM




                 DECLARATION OF MATTHEW MOORE




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                         DECLARATION OF MATTHEW MOORE

       I, Matthew Moore, I submit that the following statements, which are not all the facts learned

in this investigation or otherwise known to me concerning the subject matter herein, support a

reasonable belief that the Defendant Property is subject to forfeiture. Pursuant to 28 U.S.C. § 1746,

I declare the following to be true and correct to the best of my knowledge, information, and belief:

A.     Declarant’s Background

       1.      I am a Task Force Officer (“TFO”) with the Drug Enforcement Administration

(“DEA”) assigned to Nashville, Tennessee, and I have served in that capacity since 2013. I have

approximately nine years of law enforcement experience and approximately six years of narcotic

and controlled substance investigative experience. The federal crimes I am assigned to investigate

include, but are not limited to, violations of 21 U.S.C. §§ 841 and 846 (drug trafficking) and 18

U.S.C. § 1956 (money laundering).

B.     Items Sought for Forfeiture

       2.      The United States seeks the forfeiture of $50,000.00 United States currency

(“Defendant Property”), seized at Nashville International Airport on or about January 13, 2022.

C.     Facts

       3.      On Thursday, January 13, 2022, at approximately 8:45 a.m., Metropolitan

Nashville Airport Authority (MNAA) officers were notified by TSA Agents that a large sum of

cash appearing to be United States currency was discovered at the security checkpoint in a carry-

on item of American Airlines passenger, Ethan Dang Nguyen (“Nguyen”).

       4.      The cash was in one large rubber-banded bundle, and it appeared to be entirely in

$100 dollar denominations.




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       5.      Nguyen was scheduled to travel from Nashville (BNA) to Oklahoma City (OKC)

with a layover in Dallas Fort Worth (DFW) via American Airlines flight 1103. His scheduled

departure time was 9:34 a.m.

       6.      At approximately 8:47 a.m., MNAA Officer Brian Robbins arrived at the South

TSA Checkpoint and made contact with Nguyen.

       7.      Officer Robbins asked Nguyen if he would be willing to discuss the cash outside

of public view at a nearby office. Nguyen agreed.

       8.      At the law enforcement office located on D Concourse, MNAA investigators

informed Nguyen that he was not under arrest and was free to leave at any time. Nguyen stated

that he understood.

       9.      When asked about the cash, Nguyen stated that flew to Nashville from Oklahoma

City the previous night, January 12, 2022. He said he brought the cash, $50,000.00, with him from

Oklahoma intending to purchase phones and other devices from an Apple Store. However,

according to Nguyen the Apple Store Nguyen he visited did not have enough items in stock.

Therefore, Nguyen did not purchase any phones.

       10.     Nguyen further explained that the cash in his possession was withdrawn from his

bank account. Nguyen provided Det. Kessler with bank transaction history shown on Nguyen’s

phone which indicated numerous withdrawals, all under $10,000.00. These withdrawals occurred

within a day or two of each other.

       11.     Based upon my training and experience, the pattern reflected in the withdrawal

transactions is indicative of structuring. Structuring is the practice of withdrawing or depositing

cash in increments that are beneath the threshold for currency transaction reporting, $10,001.00.

       12.     Det. Kessler notified me of the large sum of cash in Nguyen’s possession.



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       13.     At approximately 8:59 a.m., I arrived at the law enforcement office located on the

D Concourse.

       14.     I asked Nguyen about the cash. Nguyen provided the following in summary:

               a.     Nguyen flew to Nashville the previous night and rented a car at the
                      Nashville Airport.

               b.     Nguyen brought the $50,000.00 with him to purchase phones and devices
                      from an Apple Store.

               c.     Nguyen stated never actually visited an Apple Store in the Nashville area.

               d.     Nguyen owns a business called "WeCellPhones LLC” located at 9115 North
                      Counsel Road, Oklahoma City, OK.

               e.     Nguyen purchases cell phones in bulk and re-sells the cell phones to buyers
                      in Vietnam and Hong Kong.

               f.     Nguyen typically makes a 10 to 20 percent profit on the sales.

               g.     Nguyen withdrew the cash from his bank account over a period of a month,
                      in $5,000.00 to $10,000.00 increments.

               h.     Nguyen pays for devices in cash because it is easier.

       15.     Det. Kessler asked Nguyen for consent to search his cellular phone. Nguyen agreed.

       16.     During a review of text messages on Nguyen’s phone, Det. Kessler observed text

messages that indicated Nguyen retrieved cash in Tennessee.

       17.     After being confronted with the texts, Nguyen then stated in summary:

               a.     Nguyen initially lied to investigators because he knew it would sound
                      suspicious for him to fly into Nashville for a day to retrieve money.

               b.     Nguyen stated that he picked up $50,000.00 from “Joey” who owns
                      Chuangsheng Telecom.

               c.     “Joey” owes Nguyen $120,000.00 from cell phones sales.

               d.     Nguyen is supposed to fly to Houston tomorrow to pick up more U.S.
                      Currency from “Joey.”


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               e.     Nguyen stated that “Joey” resides in Hong Kong and wires money to people
                      in the United States who provide the U.S. Currency to Nguyen.

               f.     Nguyen met with the female user of (615) 601-6383 in Gallatin Tennessee
                      to retrieve the U.S. Currency.

               g.     Nguyen informed investigators that of the $50,000.00 in his possession,
                      $15,000.00 was going to be deposited and the remaining money was going
                      to the purchase of phones.

               h.     Nguyen further stated that he plans to buy $80,000.00 worth of phones;
                      however, Nguyen did not know the name of the seller.

               i.     Nguyen informed investigators that he communicated with the seller
                      through Facebook Marketplace.

               j.     Nguyen stated that he claimed he made $60,000.00 in taxes for the previous
                      year, but that his business actually made a million.

       18.     I informed Nguyen that investigators wished to run a narcotics trained K-9 on the

cash to determine if the money had been around narcotics. Nguyen agreed.

       19.     At approximately 9:22 a.m., Investigators placed the cash from Nguyen's carry-on

in a controlled environment. Det. Kessler then introduced his narcotics detection trained K-9

"Havoc" to the array of boxes, at which time, Havoc gave a positive alert for the odor of narcotics

on the box containing the cash.

       20.     I then explained to Nguyen that the cash was being seized as suspected drug

proceeds, and I explained the federal seizure process.

       21.     A Loomis official count concluded the cash to consist of $50,000.00 U.S. Currency,

referred to herein as the Defendant Property.

       22.     At the time of the events above, Nguyen carried a cellphone with the number (405)

413-9607. According to a law enforcement database search, this number had at one time been in

contact with a target of a heroin drug trafficking organization in Oklahoma City.


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       23.     As described above, Nguyen’s phone contained text messages with (615) 601-6383.

Nguyen identified that phone number as associated with a female from whom he picked up the

Defendant Property. Further investigation identified Kavitaben Patel as a user of that phone

number.

       24.     Text messages exchanged between Nguyen’s phone and that number describe a

meeting in Gallatin, Tennessee, that occurred on about January 13, 2022. Copies of images of these

texts are attached hereto as Exhibit 1.

       25.     On or about April 8, 2022, a Deputy United States Marshal interviewed Patel in

Gallatin, Tennessee. Patel confirmed that she had been the user of (615) 601-6383 for the last five

years. Patel denied having any dealings with Nguyen. She was shown pictures of the text messages

in Exhibit 1, and she denied sending those text messages. Patel was shown a picture of Nguyen’s

driver’s license and she still denied ever seeing or meeting with Nguyen. She denied giving

Nguyen any cash to transport or otherwise having any contact with Nguyen at any time. She denied

having any business with a telecom company of any kind.

       26.     Investigators identified another phone number provided in text messages on

Nguyen’s phone. Nguyen exchanged text messages with (405) 664-3253 concerning a cash pick

up. A copy of the text messages image is attached as Exhibit 2.

       27.     Based upon information obtained in this investigation (405) 664-3253 is known to

be associated with James Marshall. Marshall was convicted of using a firearm in furtherance of a

drug trafficking offense, 18 U.S.C. § 924(c)(1)(A), on January 7, 2015, in the matter of United

States v. James Marshall, Case No. 6:14-cr-000055 (E.D. Okla. 2015). Marshall was released from

Federal Bureau of Prisons custody on or about January 15, 2019.




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       28.     On or about April 22, 2022, a Deputy United States Marshal met with an individual

identified as James Marshall in Ardmore, Oklahoma. Marshall acknowledged that he had recently

finished federal supervised release. However, Marshall denied knowing Nguyen, having any

business with Nguyen, or being involved in cash pickups or bulk cash transport of any kind.

       29.     I have conferred with DEA financial investigators concerning Nguyen’s statements.

Based upon information provided by my colleagues, the scheme described by Nguyen is consistent

with a known money laundering scheme designed to conceal the proceeds of illegal drug

transactions. Specifically, in this scheme, cell phones are purchased by an individual who accepts

cash for the transaction. The cell phones then represent a store of value to be transported overseas

for resale. Once the phones or devices are sold overseas, usually in Asia, the proceeds of those

overseas sales can be distributed to international sources of drugs, oftentimes Mexican or South

American sources.

D.     Conclusion

       30.     Based on the foregoing, my training and experience, I submit the facts support a

reasonable belief that the Defendant Property is moneys furnished or intended to be furnished by

any person in exchange for a controlled substance or proceeds traceable to such an exchange, or

moneys used or intended to be used to facilitate any violation of 21 U.S.C. § 801 et seq., including

21 U.S.C. § 841 and 21 U.S.C. § 846.The Defendant Property is, therefore, forfeitable to the United

States pursuant to 21 U.S.C. § 881(a)(6).

       31.     Based on the foregoing, my training and experience, I submit the facts support a

reasonable belief that the Defendant Property is property involved in a transaction or attempted

transaction in violation of 18 U.S.C. § 1956, or property traceable to such property. The Defendant

Property is, therefore, forfeitable to the United States pursuant to 18 U.S.C. § 981(a)(1)(A).



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